                                                         Case 6:18-bk-06821-KSJ                  Doc 130        Filed 06/24/19       Page 1 of 6
                                                                                                                                                                                                      Page 1
                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                ASSET CASES
                 Case No: 18-06821                                       Judge: Cynthia C. Jackson                                                Trustee Name:     Dennis D. Kennedy
              Case Name: Juravin, Don Karl                                                                                       Date Filed (f) or Converted (c):   10/31/2018 (f)
                                                                                                                                          341(a) Meeting Date:      12/04/2018
      For Period Ending: 03/31/2019                                                                                                             Claims Bar Date:    04/26/2019

                                       1                                                 2                        3                     4                            5                         6
                                                                                                             Est Net Value
                                                                                                         (Value Determined by                                                       Asset Fully Administered
                                                                                                                                 Property Formally
                                Asset Description                               Petition/Unscheduled      Trustee, Less Liens,                           Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                                    Abandoned
                    (Scheduled and Unscheduled (u) Property)                            Values                Exemptions,                                      the Estate               Remaining Assets
                                                                                                                                    OA=554(a)
                                                                                                           and Other Costs)
1.     15118 Pendio Drive Montverde FL 34756-0000                                       1,450,000.00                      0.00                                              0.00              FA
2.     2014 Jeep                                                                             17,000.00                    0.00                                              0.00              FA
3.     5 beds & nightstands, 2 dressers, 1 glass table, 3 coffee tables, 2                    6,900.00                    0.00                                              0.00              FA
       dining tables & chairs, 1 end table, woven outdoor, outdoor set, 3
       sofa sets, 1 sofa set outdoor, 2 book/china cases, pool table,
       massage chair, 2 washing machines, 2 dryers, 2 refrigerators,
       dishwasher, oven
4.     TV: 2 x 55" + 1 projector and screen + 2 x 65"                                         1,200.00                    0.00                                              0.00              FA
5.     2 handguns                                                                              600.00                     0.00                                              0.00              FA
6.     Miscellaneous clothes                                                                   500.00                     0.00                                              0.00              FA
7.     Miscellaneous jewelry                                                                   300.00                     0.00                                              0.00              FA
8.     Cash                                                                                    800.00                     0.00                                              0.00              FA
9.     Checking Account TD Bank                                                               2,617.35                    0.00                                              0.00              FA
10.    Checking FL Community Bank                                                              100.00                     0.00                                              0.00              FA
11.    Transferwise ($1,939 plus 665 Euro)                                                    2,691.31                    0.00                                              0.00              FA
12.    Must Cure Obesity, Co 100 %                                                                0.00                    0.00                                              0.00              FA
13.    Juravin, Incorporated 100 %                                                                0.00                    0.00                                              0.00              FA
14.    Roca Labs Nutraceutical USA, Inc. 100 %                                                    0.00                    0.00                                              0.00              FA
15.    Andrew Hill - $10,000 loan                                                            10,000.00                    0.00                                              0.00              FA
16.    Term Life Insurance - Genworth Policy No. xxxxxx5142 Anna Juravin                          0.00                    0.00                                              0.00              FA
17.    Term Life Insurance - Banner Policy No. xxxxx5582 (will end in 2020)                       0.00                    0.00                                              0.00              FA
       Anna Juravin
                                                        Case 6:18-bk-06821-KSJ                     Doc 130        Filed 06/24/19       Page 2 of 6
                                                                                                                                                                                                         Page 2
                                                                                                    FORM 1
                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                  ASSET CASES
               Case No: 18-06821                                          Judge: Cynthia C. Jackson                                                 Trustee Name:     Dennis D. Kennedy
            Case Name: Juravin, Don Karl                                                                                           Date Filed (f) or Converted (c):   10/31/2018 (f)
                                                                                                                                            341(a) Meeting Date:      12/04/2018
      For Period Ending: 03/31/2019                                                                                                               Claims Bar Date:    04/26/2019

                                      1                                                    2                        3                     4                            5                          6
                                                                                                               Est Net Value
                                                                                                           (Value Determined by                                                        Asset Fully Administered
                                                                                                                                   Property Formally
                               Asset Description                                  Petition/Unscheduled      Trustee, Less Liens,                           Sale/Funds Received by        (FA) / Gross Value of
                                                                                                                                      Abandoned
                   (Scheduled and Unscheduled (u) Property)                               Values                Exemptions,                                      the Estate                Remaining Assets
                                                                                                                                      OA=554(a)
                                                                                                             and Other Costs)
18.    Homeowner Insurance - St. Johns N/A                                                          0.00                    0.00                                                0.00             FA
19.    Health Insurance - Cigna family                                                              0.00                    0.00                                                0.00             FA
20.    Term Life Insurance - Banner Policy No. xxxxx8813 (will end in 2021)                         0.00                    0.00                                                0.00             FA
       Anna Juravin
21.    TermLife Insurance - AIG Policy No. xxxxxx8312 Anna Juravin                                  0.00                    0.00                                                0.00             FA
22.    Don K. Jurivan, Ania Juravin, Levia Juravin and Ynes v. Community                       Unknown                      0.00                                                0.00             FA
       Watch 17-CA-2178 5th Circuit Lake Co FL
23.    Don K. Juravin, Plaintiff v. Richard Arrighi, Randall Greene, The Club                  Unknown                      0.00                                                0.00             FA
       at Bella Collina LLC 2018-CA-001607
24.    Potential claims against Andrew Hill, Esq. for malpractice for                          Unknown                      0.00                                                0.00             FA
       misrepresenting; breach of employment (u)
25.    Potential claims against Erin Wanner and Stockworth Realty Group                        Unknown                      0.00                                                0.00             FA
       (u)
26.    Potential claims against Paul Simonson and Dwight Schar 2018-CA-                        Unknown                      0.00                                                0.00             FA
       001607 (u)
27.    Potential claims against PayPal Inc., Mastercard International, Inc.                    Unknown                      0.00                                                0.00             FA
       and Chase (u)
28.    Must Cure Obesity, Co. & Don Karl Juravin v. Johnson, Circuit Court,                         0.00                    0.00                                                0.00             FA
       Orange Co FL 18-CA-2412 (u)
29.    Although I have listed all known accounts, just in case there is any                     7,500.00                    0.00                                                0.00             FA
       bank accounts that I cannot access (u)
30.    Mercedes Benz of Tampa (subject to Asset Freeze Order in FTC                            16,000.00                    0.00                                           16,000.00             FA
       litigation) (u)
                                                        Case 6:18-bk-06821-KSJ                     Doc 130        Filed 06/24/19       Page 3 of 6
                                                                                                                                                                                                         Page 3
                                                                                                   FORM 1
                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                 ASSET CASES
               Case No: 18-06821                                            Judge: Cynthia C. Jackson                                               Trustee Name:     Dennis D. Kennedy
            Case Name: Juravin, Don Karl                                                                                           Date Filed (f) or Converted (c):   10/31/2018 (f)
                                                                                                                                            341(a) Meeting Date:      12/04/2018
      For Period Ending: 03/31/2019                                                                                                               Claims Bar Date:    04/26/2019

                                      1                                                    2                        3                     4                            5                          6
                                                                                                               Est Net Value
                                                                                                           (Value Determined by                                                        Asset Fully Administered
                                                                                                                                   Property Formally
                               Asset Description                                  Petition/Unscheduled      Trustee, Less Liens,                           Sale/Funds Received by        (FA) / Gross Value of
                                                                                                                                      Abandoned
                   (Scheduled and Unscheduled (u) Property)                               Values                Exemptions,                                      the Estate                Remaining Assets
                                                                                                                                      OA=554(a)
                                                                                                             and Other Costs)
31.    Funds held in the trust account of Glenn A. Reid, Esq. (subject to                      34,841.00                    0.00                                                0.00             FA
       Asset Freeze Order in FTC litigation) (u)
32.    PayPal Account (1099k issued to me for this account, subject to                         11,580.97                    0.00                                                0.00             FA
       Asset Freeze Order in FTC litigation) (u)
33.    Bella Collina Club membership (currently not allowed access to club)                         0.00                    0.00                                                0.00             FA
       (u)
34.    2018 Mercedes S560V (u)                                                                 83,474.00                    0.00                                                0.00                        0.00
35.    2018 Mercedes GLS550W4 (u)                                                              63,820.00                    0.00                                                0.00             FA
36.    Checking Ally Bank (u)                                                                    510.06                     0.00                                                0.00             FA
37.    Checking Insight Credit Union (u)                                                        1,595.00                    0.00                                                0.00             FA
38.    Checking TD Ameritrade (u)                                                               3,180.81                    0.00                                            3,180.81             FA
39.    TD Ameritrade (account frozen by Court Order FTC litigation) (u)                        90,638.95                    0.00                                           90,641.46             FA
40.    Bank of Ireland (Euros) (u)                                                               150.00                     0.00                                                0.00             FA
41.    AIB (Euros) (u)                                                                           350.00                     0.00                                                0.00             FA
42.    Potential claims against Sandra Antico, Nickolas Antico and Jenna                       Unknown                      0.00                                                0.00             FA
       Antico for theft
43.    FTC v. Roca Labs Inc 15-CV-02231-MSS-CPT (u)                                                 0.00                    0.00                                            4,293.50             FA
                                                         Case 6:18-bk-06821-KSJ                         Doc 130           Filed 06/24/19       Page 4 of 6
                                                                                                                                                                                                                      Page 4
                                                                                                      FORM 1
                                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                    ASSET CASES
            Case No: 18-06821                                                 Judge: Cynthia C. Jackson                                                    Trustee Name:     Dennis D. Kennedy
         Case Name: Juravin, Don Karl                                                                                                     Date Filed (f) or Converted (c):   10/31/2018 (f)
                                                                                                                                                   341(a) Meeting Date:      12/04/2018
  For Period Ending: 03/31/2019                                                                                                                          Claims Bar Date:    04/26/2019

                                      1                                                         2                           3                     4                               5                            6
                                                                                                                      Est Net Value
                                                                                                                  (Value Determined by                                                              Asset Fully Administered
                                                                                                                                          Property Formally
                             Asset Description                                       Petition/Unscheduled          Trustee, Less Liens,                             Sale/Funds Received by            (FA) / Gross Value of
                                                                                                                                             Abandoned
                 (Scheduled and Unscheduled (u) Property)                                    Values                    Exemptions,                                        the Estate                    Remaining Assets
                                                                                                                                             OA=554(a)
                                                                                                                    and Other Costs)

                                                                                                                                                                                             Gross Value of Remaining Assets

TOTALS (Excluding Unknown Values)                                                            1,806,349.45                          0.00                                               114,115.77                        0.00


Re Prop. #2 amount changed per amended schedules Doc# 17 1-16-19
Re Prop. #11 amended per Doc# 17 1-16-19
Re Prop. #24 per Doc# 17 01-16-19
Re Prop. #25 per Doc# 17 01-16-19
Re Prop. #26 per Doc# 17 01-16-19
Re Prop. #27 per Doc# 17 01-16-19
Re Prop. #28 per Doc# 17 01-16-19
Re Prop. #29 per Doc# 17 01-16-19
Re Prop. #30 per Doc# 17 01-16-19
Re Prop. #31 per Doc# 17 01-16-19
Re Prop. #32 per Doc# 17 01-16-19
Re Prop. #33 per Doc# 17 01-16-19
Re Prop. #34 per Doc# 17 01-16-19
Re Prop. #35 per Doc# 17 01-16-19
Re Prop. #36 per Doc# 17 01-16-19
Re Prop. #37 per Doc# 17 01-16-19
Re Prop. #38 per Doc# 17 01-16-19
Re Prop. #39 per Doc# 17 01-16-19
Re Prop. #40 per Doc# 17 01-16-19
Re Prop. #41 per Doc# 17 01-16-19


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
04-27-19 DK - Have yet to conclude 341 meeting. In the process of subpoenaing records from different banks. Will likely continued 341 meeting until all documents are provided.
02-22-19 - Cert of Serv Doc# 61 for Order Doc# 53
02-15-19 - Application to Employ Forensic Accountant Doc# 50
01-24-19 - Cert of Serv Doc# 25 for Order Doc# 22
01-17-19 - Application and Declaration to employ Ewald as Appraiser Doc# 19
                                                     Case 6:18-bk-06821-KSJ          Doc 130        Filed 06/24/19       Page 5 of 6
                                                                                                                                                                                          Page 5
                                                                                      FORM 1
                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                    ASSET CASES
           Case No: 18-06821                                   Judge: Cynthia C. Jackson                                              Trustee Name:     Dennis D. Kennedy
        Case Name: Juravin, Don Karl                                                                                 Date Filed (f) or Converted (c):   10/31/2018 (f)
                                                                                                                              341(a) Meeting Date:      12/04/2018
  For Period Ending: 03/31/2019                                                                                                     Claims Bar Date:    04/26/2019

                                  1                                           2                       3                     4                            5                         6
                                                                                                 Est Net Value
                                                                                             (Value Determined by                                                       Asset Fully Administered
                                                                                                                     Property Formally
                           Asset Description                         Petition/Unscheduled     Trustee, Less Liens,                           Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                        Abandoned
               (Scheduled and Unscheduled (u) Property)                      Values               Exemptions,                                      the Estate               Remaining Assets
                                                                                                                        OA=554(a)
                                                                                               and Other Costs)


Initial Projected Date of Final Report(TFR) : 12/31/2020        Current Projected Date of Final Report(TFR) :


Trustee’s Signature       /s/Dennis D. Kennedy                                Date: 06/24/2019
                          Dennis D. Kennedy
                          P O Box 541848
                          Merritt Island, FL 32954
                          Phone : (321) 455-9744
                                                    Case 6:18-bk-06821-KSJ                  Doc 130          Filed 06/24/19              Page 6 of 6
                                                                                               FORM 2                                                                                                       Page 1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD

                 Case No: 18-06821                                                                                                                       Trustee Name: Dennis D. Kennedy
              Case Name: Juravin, Don Karl                                                                                                                 Bank Name: Texas Capital Bank
                                                                                                                                                  Account Number/CD#: ******4857 Checking Account
       Taxpayer ID No: **-***9921                                                                                                        Blanket bond (per case limit): 21,701,000.00
     For Period Ending: 3/31/2019                                                                                                        Separate bond (if applicable): 0.00

    1                    2                             3                                              4                                                     5                      6                   7
                                                                                                                                     Uniform
Transaction          Check or                                                                                                         Trans.                                                    Account/ CD
   Date              [Refer#]                Paid To / Received From                    Description of Transaction                    Code             Deposits($)        Disbursements($)       Balance($)
01/22/2019              [38]       TD Ameritrade Clearing                     Turnover of account                                    1229-000                3,180.81                                      3,180.81


01/22/2019              [39]       TD Ameritrade Clearing                     Turnover of account                                    1229-000               90,641.46                                  93,822.27


01/22/2019              [30]       Mercedes Benz & Infiniti of Tampa          Turnover of account                                    1229-000               16,000.00                                 109,822.27


03/22/2019              [43]       Citibank NA                                Turnover of Freeze order asset 15-cv-02231 FTC v       1249-000                4,293.50                                 114,115.77
                                                                              Roca Labs Inc.


                                                                                                                                 Page Subtotals            114,115.77                   0.00


                                                                                                    COLUMN TOTALS                                          114,115.77                   0.00
                                                                                                              Less:Bank Transfer/CD's                             0.00                  0.00
                                                                                                    SUBTOTALS                                              114,115.77                   0.00

                                                                                                           Less: Payments to Debtors                                                    0.00
                                                                                                    Net                                                    114,115.77                   0.00


                                                                                            TOTAL-ALL ACCOUNTS                                              NET                     NET             ACCOUNT
                    All Accounts Gross Receipts:            114,115.77                                                                                    DEPOSITS             DISBURSEMENTS        BALANCE

              All Accounts Gross Disbursements:                   0.00
                                                                                            ******4857 Checking Account                                    114,115.77                   0.00
                                All Accounts Net:           114,115.77
                                                                                            Net Totals                                                     114,115.77                   0.00        114,115.77
